Case 8:18-bk-07707-MGW Doc51 Filed 12/30/20 Pagelof1

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

In Re: Case No. 8:18-bk-07707-MGW
Chapter 7
Robin Hicks Brooks

Debtor(s)/

TRUSTEE'S REPORT OF UNCLAIMED FUNDS

COMES NOW, Stephen L. Meininger, as Trustee of the above-captioned matter, and
respectfully states that, pursuant to the orders of distribution, he has disbursed the entire amount
in the Trustee's account, and all checks have cleared with the exception of the following:

Claim # Check # Claimant Amount
2 107 U.S. Department of Education $36,664.46
c/o Nelnet

121 S 13" St., Suite 201
Lincoln NE 68508

More than ninety (90) days have elapsed since the declaration and distribution of the final
dividend, and pursuant to 11 U.S.C. § 347 and Fed. R. Bankr. P. 3011, the Trustee shall provide a
check made payable to the Clerk, U.S. Bankruptcy Court in the amount of $36,664.46 for deposit
in the "unclaimed funds account," and states that the claimants entitled thereto are as listed above.

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I hereby certify that a true and correct copy of the above and foregoing has been furnished
to the U.S. Trustee, 501 E. Polk Street, Ste. 1200, Tampa, FL, 33602 on this 30th day of December,
2020. \

STEPHEN L. MEININGER, TRUSTEE
t. Suite 850

Phone (813) 301-108
